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 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:14-CR-00228-LJO-SKO
12                                Plaintiff,            STIPULATION TO MODIFY DATE OF INITIAL
                                                        APPERANCE; ORDER
13                          v.
                                                        DATE: November 12, 2014
14   PETER SANTO CAPODIECI,                             TIME: 1:30 a.m.
                                                        COURT: Hon. Barbara A. McAuliffe
15                               Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through Assistant U.S. Attorney Grant B. Rabenn, and

19 defendant, by and through his attorney, Randy Sue Pollock, hereby stipulate as follows:

20          1.      By previous order of the Middle District of Florida, Ocala Division, this matter was set

21 for initial appearance in the Eastern District of California, Fresno Division on November 12, 2014 at

22 1:30 p.m. See Docket Number 40.

23          2.      By this stipulation, defendant now moves to continue the initial appearance from

24 November 12, 2014 at 1:30 p.m. to November 19, 2014 at 1:30 p.m. This request is based on

25 defendant’s need to coordinate his travel from Florida to California for the initial appearance.

26          IT IS SO STIPULATED.

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     Dated: November 5, 2014                              BENJAMIN B. WAGNER
 1                                                        United States Attorney
 2
                                                          /s/ GRANT B. RABENN
 3                                                        GRANT B. RABENN
                                                          Assistant United States Attorney
 4

 5 Dated: November 5, 2014                                /s/ RANDY SUE POLLOCK
                                                          Randy Sue Pollock
 6
                                                          Counsel for Defendant
 7                                                        Peter Santo Capodieci

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                                                    ORDER
11
            IT IS SO FOUND AND ORDERED that Defendant Peter Santo Capodieci (3) Initial
12
     Appearance for Arraignment and Plea on Indictment in the Eastern District of California, at Fresno is
13
     continued from November 12, 2014 to Wednesday, November 19, 2014 at 1:30 PM in Courtroom 8
14
     before Judge McAuliffe.
15

16 IT IS SO ORDERED.

17
        Dated:     November 7, 2014                          /s/ Barbara A. McAuliffe             _
18                                                    UNITED STATES MAGISTRATE JUDGE
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